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                      IN THE UNITED STATES DISTRICT COURT,
                    IN AND FOR THE CENTRAL DISTRICT OF UTAH

PAMELA WHITNEY,                                         NOTICE OF SETTLEMENT

               Plaintiff,
vs.                                                   Case No. 2:20-CV-135-HCN-DAO
TA OPERATING LLC, A Delaware                                Judge Howard C. Nielsen, Jr.
Limited Liability Company, as successor-in-
interest to NATIONAL
AUTO/TRUCKSTOPS, INC. John Does I –
X, XYZ Corporations and/or Limited
Liability Companies I – X.

               Defendants.



       Plaintiff Pamela Whitney, by and through her undersigned counsel, hereby gives notice

that the parties in this matter have reached a settlement. Once the resolution is papered, Plaintiff

will file a notice of voluntary dismissal with the Court.

       DATED this 21st day of May, 2020.

                                                      FORD & CRANE PLLC


                                                      /s/ Matthew B. Crane
                                                      Matthew B. Crane (UTB# 13909)
                                                      Attorney for Plaintiff

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                                CERTIFICATE OF SERVICE

       I, the undersigned, certify that on the 21st day of May, 2020, I caused a true and correct

copy of the foregoing NOTICE OF SETTLEMENT to be filed with the Court electronically via

CM/ECF, which caused notice to be served upon all e-filing counsel of record via the Court’s

Notice of Electronic Filing [NEF].



                                                     /s/ Matthew B. Crane




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